              Case 1:21-cr-00121-JJM-LDA                             Document 12-1          Filed 12/01/21         Page 1 of 1 PageID #:
                                                                              42                                                   PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO.               1:21CR121JJM-LDA
Matter Sealed:             Juvenile            Other than Juvenile                     USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                          John D. Macintyre
                                                                                  Defendant:
                                      Indictment         Charges/Counts Added
                                      Information
Name of District Court, and/or Judge/Magistrate Location (City)                   Address:

UNITED STATES DISTRICT COURT                    RHODE ISLAND
DISTRICT OF NEW MEXICO
            RHODE ISLAND                        Divisional Office

                                      RICHARD B. MYRUS
Name and Office of Person
Furnishing Information on             ; U.S. Atty    Other U.S. Agency
THIS FORM                             Phone No. (401) 709-5000                             Interpreter Required     Dialect:
 Name of Asst.
 U.S. Attorney         Ronald R. Gendron
 (if assigned)                                                                     Birth                                   ✔ Male                 Alien
                                                                                   Date                                         Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 Department of Homeland Security, HSI                                               Social Security Number

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                   DEFENDANT


                                                                                 Issue:           Warrant       ✔ Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                 Location Status:
                                                                                  Arrest Date               or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were                                                 Currently in Federal Custody
           dismissed on motion of:
                                                                                           Currently in State Custody
               U.S. Atty      Defense
                                                            SHOW                                 Writ Required
          this prosecution relates to a                   DOCKET NO.
                                                                                           Currently on bond
          pending case involving this same
          defendant. (Notice of Related                                                    Fugitive
          Case must still be filed with the
          Clerk.)
    ✔                                                        MAG. JUDGE
         prior proceedings or appearance(s)
                                                              CASE NO.
                                                                                 Defense Counsel (if any):
         before U.S. Magistrate Judge
         regarding this defendant were
         recorded under                              21-MJ-00022-LDA                        FPD          CJA            RET'D
                                                                                                  Appointed on Target Letter
Place of    RHODE ISLAND                            County
offense

                                                                                   ✔      This report amends AO 257 previously submitted

        OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 1
    Set                 Title & Section/Offense Level                                     Description of Offense Charged                       Felony/Misd.
                                                                                                                                                Count(s)
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                 Felony
1            18 U.S.C. § 2252(a)(4)(B) & (b)(2)                            Possession of Child Pornography                                       Misdemeanor
                                                                                                                                                 Felony
Max          Penalty: 10yrs imprisonment; Life S/R;                        $250,000 fine; and $100 special assessment                            Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                           Estimated Trial Days: 3                                               Misdemeanor
